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10                                   UNITED STATES DISTRICT COURT

11                                 NORTHERN DISTRICT OF CALIFORNIA

12                                        SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                        ) CASE NO. CR 15-0319 RS
14                                                    )
             Plaintiff,                               ) [PROPOSED] FINAL ORDER OF
15                                                    ) FORFEITURE
        v.                                            )
16                                                    )
     SHAUN W. BRIDGES,                                )
17                                                    )
             Defendant.                               )
18                                                    )

19           On September 02, 2015, the court entered a Preliminary Order of Forfeiture forfeiting the
20 following property:

21           a. $162,437.19 from defendants Fidelity Brokerage Account, held in the name of Quantum
                Investments;
22

23           b. $306,000 held in trust by defendants attorney of record;

24           c. $4,711.52 from defendants PNC Bank Account, jointly held in the name of Shawn Bridges
                and a person known to the parties; and
25
             d. a Money Judgment in the amount of $651,000,
26
     pursuant to Title 18, United States Code, Section 981(a)(1)(c); Title 18, United States Code, Section
27
     982(a)(1)(A), and Title 28, United States Code, Section 2461(c).
28

     [PROPOSED] FINAL ORDER OF FORFEITURE
      CR 15-0319 RS                                  1
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 1          The United States represents that it has complied with the publication notice requirements of the

 2 Preliminary Order and that no petitions have been filed.

 3          THEREFORE IT IS HEREBY ORDERED that the above-described property shall be

 4 forfeited to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(c); Title 18,

 5 United States Code, Section 982(a)(1)(A), and Title 28, United States Code, Section 2461(c). All right,

 6 title, and interest in said property is vested in the United States of America. The appropriate federal

 7 agency shall dispose of the forfeited property according to law.

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 9 Dated:                                                 _______________________________
                                                          RICHARD SEEBORG
10                                                        United States District Judge
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     [PROPOSED] FINAL ORDER OF FORFEITURE
      CR 15-0319 RS                                  2
